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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS




 WILLIAM PRICE,                    §
                                   §
              Plaintiff,           §
                                   §
 v.                                §                      Civil Action: 3:23-cv-2537
                                   §
                                   §                      With Jury Demand Endorsed
 EQUIFAX INFORMATION SERVICES LLC, §
 EXPERIAN INFORMATION SOLUTIONS,   §
 Inc., TRANS UNION LLC, NATIONSTAR §
 MORTGAGE LLC, EVERBANK, N.A.,     §
 and OLD NATIONAL BANCORP,         §
                                   §
                                   §
              Defendants.          §



                                        COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

        Plaintiff, William Price (“Plaintiff”), by and through counsel, for his Complaint against

Defendants, Equifax Information Services LLC, Experian Information Solutions, Inc., Trans Union

LLC, Nationstar Mortgage LLC, Everbank, N.A., and Old National Bancorp jointly, severally, and

in solido, states as follows:

                                     I. INTRODUCTION

       1.       Three of the Defendants are consumer reporting agencies (“CRAs”) as defined by 15

U.S.C. § 1681a(f), and Defendants, Nationstar Mortgage LLC, Everbank, N.A., and Old National

Bancorp are furnishers of consumer information. All Defendants have violated 15 U.S.C. § 1681 et

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seq., known as the Fair Credit Reporting Act (the “FCRA”). Plaintiff seeks to recover from

Defendants actual, statutory, and punitive damages, injunctive relief, legal fees, and expenses.


                                         II. PARTIES

       2.      Plaintiff, William Price, is a natural person residing in Vigo County, Indiana, and is

a “consumer,” as defined by the FCRA, 15 U.S.C. § 1681a(c), and is a victim of repeated false

credit reporting.

       Made Defendants herein are:

       3.      Upon information and belief, Defendant Equifax Information Services LLC, which

may also hereinafter be referred to as “Equifax,” “Defendant,” “Defendants,” “CRA,” “CRA

Defendant,” or “CRA Defendants” is a Georgia limited liability company that does substantial

business in this judicial district and may be served by delivering a summons to its headquarters,

1550 Peachtree Street, Northwest, Atlanta, Georgia 30309. Equifax is a nationwide consumer

reporting agency (“CRA”) as defined by 15 U.S.C. § 1681a(f). Equifax regularly engages in the

business of assembling, evaluating, and disbursing information concerning consumers for the

purposes of furnishing “consumer reports” as defined by 15 U.S.C. § 1681a(f) to third parties.

Equifax disburses such consumer reports to third parties of contract for monetary compensation.

       4.      Upon information and belief, Defendant Experian Information Solutions, Inc., which

may also hereinafter be referred to as “Experian”, “Defendant,” “Defendants,” “CRA,” or “CRA

Defendant,” or “CRA Defendants,” is an Ohio corporation that does business in this judicial district

and may be served by delivering a summons to its headquarters, 475 Anton Blvd., Costa Mesa,

California 92626. Experian is a nationwide CRA as defined by 15 U.S.C. § 1681a(f). Experian

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regularly engages in the business of assembling, evaluating, and disbursing information concerning

consumers for the purposes of furnishing “consumer reports” as defined by 15 U.S.C. § 1681a(f) to

third parties. Experian disburses such consumer reports to third parties of contract for monetary

compensation.

       5.       Upon information and belief, Defendant Trans Union LLC, which may also

hereinafter be referred to as “Trans Union”, “Defendant,” “Defendants,” “CRA,” “CRA Defendant,”

or “CRA Defendants” is an Illinois limited liability company that does business in this judicial

district and may be served by delivering a summons to its headquarters, 555 West Adams Street,

Chicago, Illinois 60681. Trans Union is a nationwide CRA as defined by 15 U.S.C. § 1681a(f). Trans

Union regularly engages in the business of assembling, evaluating, and disbursing information

concerning consumers for the purposes of furnishing “consumer reports” as defined by 15 U.S.C. §

1681a(f) to third parties. Trans Union disburses such consumer reports to third parties of contract for

monetary compensation.

       6.       Upon information and belief, Defendant Nationstar Mortgage LLC or Mr. Cooper,

which may also hereinafter be referred to as “Nationstar,” “Defendant,” “Defendants,” “Furnisher

Defendant,” or “Furnisher Defendants,” is a Delaware limited liability company that does

substantial business in this judicial district and may be served by delivering a summons to its Legal

Department at its headquarters, 8950 Cypress Waters Blvd., Coppell, Texas 75019. Nationstar is a

“person,” as defined by the FCRA, 15 U.S.C. § 1681a(b), and a furnisher of consumer credit

information to consumer reporting agencies.

       7.       Upon information and belief, Defendant Everbank, N.A. which may also hereinafter


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be referred to as “Everbank,” “TIAA Bank,” “TIAA Bank/Everbank” “Defendant,” “Defendants,”

“Furnisher Defendant,” or “Furnisher Defendants,” is a Florida Corporation, that does substantial

business in this judicial district and may be served by delivering a summons to its Legal Department

at its headquarters,301 West Bay Street, Jacksonville, FL 32202. TIAA Bank/Everbank is a

“person,” as defined by the FCRA, 15 U.S.C. § 1681a(b), and a furnisher of consumer credit

information to consumer reporting agencies.

       8.      Upon information and belief, Defendant Old National Bancorp which may also

hereinafter be referred to as “Old National,” “Defendant,” “Defendants,” “Furnisher Defendant,” or

“Furnisher Defendants,” is a Indiana Corporation, that does substantial business in this judicial

district and may be served by delivering a summons to its Legal Department at its headquarters, 1

Main St., Ste. 1, Evansville, IN 47708. Old National is a “person,” as defined by the FCRA, 15

U.S.C. § 1681a(b), and a furnisher of consumer credit information to consumer reporting agencies.

       9.      As used herein, “consumer reporting agency,” or “CRA,” means any person which,

for monetary fees, dues, or on a cooperative nonprofit basis, regularly engages in whole or in part in

the practice of assembling or evaluating consumer credit information or other information on

consumers for the purpose of furnishing consumer reports (commonly referred to as “credit reports”)

to third parties, and which uses any means or facility of interstate commerce for the purpose of

preparing or furnishing consumer reports and is an entity in the business of collecting, maintaining

and disseminating information regarding the credit-worthiness of individuals. CRAs specifically

include, but are not limited to, Equifax, Experian, and TransUnion.

                             III. JURISDICTION AND VENUE


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        10.     Plaintiff respectfully asserts that this Honorable Court has jurisdiction in this case

arises under federal law. 28 U.S.C. § 1331, 1334, and 1367 and 15 U.S.C. § 1681(p). Plaintiff also

asserts actions under states' laws which may be brought within the supplemental jurisdiction of this

Court and Plaintiff respectfully requests that this Honorable Court exercise supplemental

jurisdiction over said claims. 28 U.S.C. § 1367.

        11.     Venue is proper in this District, because CRA Defendants and Nationstar transact

business in this District. Nationstar’s headquarters is located in this judicial district, a substantial

part of the conduct complained of occurred in this district, and various actions made basis of

Plaintiff’s claims against Defendants occurred in the Northern District of Texas as further described.

28 U.S.C. § 1391.

       12. Venue is further proper in this District, because CRA Defendants entered into agreements

with Nationstar in this judicial district to receive credit reporting data concerning Plaintiff. Any and

all requests to investigate Plaintiff’s dispute(s) sent from the CRA Defendants as part of their

reinvestigation was submitted to Nationstar’s headquarters and investigated by the furnisher

Nationstar using Nationstar’s resources located at or closely connected to this judicial district.

Nationstar managed Plaintiff’s mortgage from this judicial district including communicating amounts

owed and conducting numerous communications via phone and letter.


                                IV. FACTUAL ALLEGATIONS

  Background and Credit-Reporting Inaccuracies for Plaintiff’s Primary Mortgage Account with
                                         Nationstar

        13.     Upon information and belief, in or around August 2009 Plaintiff secured a primary


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mortgage for his property located at 460 South Kenwood Place, West Terre Haute, IN 47885.

       14.     Sometime thereafter, Nationstar Mortgage LLC acquired Plaintiff’s mortgage loan

and assigned loan number 62116xxxx, hereinafter (“Nationstar mortgage account”).

       15.     On January 31, 2017, Plaintiff filed for a Chapter 13 bankruptcy. A redacted copy of

Plaintiff’s chapter 13 bankruptcy docket report is attached hereto as Exhibit “A”.

       16.     On July 31, 2017, Plaintiff Chapter 13 payment plan was confirmed. See Exhibit

“A”.

       17.     On March 12, 2022, Plaintiff was discharged form his chapter 13 bankruptcy, and

excepted from discharge Plaintiff’s Nationstar Mortgage. A redacted copy of Plaintiff’s Chapter 13

Bankruptcy Discharge Order is attached hereto as Exhibit “B”.

       18.     Read in concert, Sections 1322(a)(2), 1322(b)(5), and 1328(a)(1) of the Bankruptcy

Code, bar discharging home mortgage debts in a Chapter 13 Bankruptcy.

       19.     On March 16, 2022, Donald L. Decker, Trustee for Plaintiff’s Chapter 13 Bankruptcy

filed a Chapter 13 Standing Trustee’s Final Report and Account. A redacted copy of Plaintiff’s

Chapter 13 Bankruptcy Trustee’s Final Report and Account is attached hereto as Exhibit “C”.

       20.     On or around April 18, 2022, Plaintiff’s Chapter 13 Bankruptcy was terminated. See

Exhibit “A”.

       21.     Throughout Plaintiff’s Chapter 13 Bankruptcy, under direct or indirect order from

the bankruptcy Trustee, timely monthly mortgage payments were made to the Nationstar mortgage

account.

       22.     After discharge, and to this day, Plaintiff still lives in the home and makes timely

and regular mortgage payments to the Nationstar Mortgage, has historically made timely and regular

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    payments to the Nationstar Mortgage, even after Plaintiff’s bankruptcy, and plans on continuing to

    make timely and regular mortgage payments to the Nationstar Mortgage.

           23.      Sometime in May 2023, Plaintiff obtained his three-bureau credit report and noticed

    that the Equifax credit report(s) was not accurate. A redacted copy of Plaintiff’s three-bureau credit

    report is attached hereto as Exhibit “D”.

           24.      Within the Equifax credit report Plaintiff noticed that it reported the Nationstar

    mortgage account without the correct update that indicated that this secured debt was initially filed.

    This led to reporting that this open account was closed, with a $0 balance and $0 payment amount,

    with a date of last payment of 12/1/2016. Further, they neglected to provide the update that the

    tradeline was later discharged, and no longer part of the bankruptcy. This led to them reporting this

    account as derogatory, as being in a wage earner plan and with references to the Chapter 13

    Bankruptcy. The reporting is incorrect because Plaintiff complied with the terms of the chapter 13

    bankruptcy plan, was successfully discharged—excepted the secured Nationstar mortgage debt

    from being discharged, therefore, any remarks and/or references to Plaintiff’s chapter 13 bankruptcy

    should have been removed from the Nationstar Mortgage tradelines after the Bankruptcy was

    discharged. 1

           25.      Metro 2 guidelines require furnishers and CRAs to update the reporting of an account

    when the borrower associated to the account filed chapter 13 bankruptcy by first updating the

    Consumer Information Indicator (“CII”) to “D”, and then continuing to furnish the monthly payment



1
  The Consumer Data Industry Association’s Metro 2 reporting standards specifically instruct
consumer reporting agencies to remove any suppression codes associated with bankruptcy
reporting for an account once the chapter 13 bankruptcy is discharged so that ongoing payments
made by the consumer can be reported.
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history information with a value of “D”. Metro 2 guidelines further require furnishers and CRAs to

update the reporting of an account when the borrower associated to the account is discharged from

chapter 13 bankruptcy by updating the CII to “Q”. In following these simple Metro 2 guidelines,

which are well regarded as the industry standards, it prevents the reporting of any late payment

history during the pendency of a consumer’s chapter 13 Bankruptcy, and allows payments made by

the consumer after the chapter 13 bankruptcy is discharged to be reported. Metro 2 guidelines are

followed by both furnishers and CRAs.

             Background Information and Credit-Reporting Inaccuracies for Plaintiff’s Primary
                 Mortgage Account that Transferred Between Everbank and Old National

       26.      Upon information and belief, in or around December 1998 Plaintiff secured a

mortgage for his modular home property located at 816 South 8th St., West Terre Haute, IN 47885.

       27.      Sometime thereafter, TIAA Bank (later renamed Everbank, N.A.) acquired

Plaintiff’s mortgage loan and assigned loan number 1409000024xxxx, hereinafter (“Everbank

mortgage account”).

       28.      On January 31, 2017 , Plaintiff filed for a Chapter 13 bankruptcy. See Exhibit “A”.

       29.      On July 31, 2017, Plaintiff Chapter 13 payment plan was confirmed. See Exhibit

“A”.

       30.      In or about May 2018, Everbank sold or otherwise transferred the mortgage account

to Old National Bank. Old National Bank assigned loan number 31700024xxxx hereinafter (“Old

National Mortgage Account”). See Exhibit “A”.

       31.      On March 12, 2022, Plaintiff was discharged form his chapter 13 bankruptcy, and

excepted from discharge Plaintiff’s Everbank/Old National Mortgage Account. See Exhibit “B”.


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       32.     Read in concert, Sections 1322(a)(2), 1322(b)(5), and 1328(a)(1) of the Bankruptcy

Code, bar discharging home mortgage debts in a Chapter 13 Bankruptcy.

       33.     On March 16, 2022, Donald L. Decker, Trustee for Plaintiff’s Chapter 13 Bankruptcy

filed a Chapter 13 Standing Trustee’s Final Report and Account. See Exhibit “C”.

       34.     On or around April 18, 2022, Plaintiff’s Chapter 13 Bankruptcy was terminated. See

Exhibit “A”.

       35.     Throughout Plaintiff’s Chapter 13 Bankruptcy, under direct or indirect order from

the bankruptcy Trustee, timely monthly mortgage payments were made to the Everbank and Old

National mortgage accounts.

       36.     After discharge, and to this day, Plaintiff still lives in the home and makes timely

and regular mortgage payments to the now Old National Mortgage Account, has historically made

timely and regular payments to both the Everbank Mortgage and Old National Mortgage Accounts,

even after Plaintiff’s bankruptcy, and plans on continuing to make timely and regular mortgage

payments to the Old National Mortgage Account.

       37.     Sometime in May 2023, Plaintiff obtained his three-bureau credit report and noticed

that the Experian and Trans Union credit report(s) were not accurate. See Exhibit “D”.

       38.     Within the Experian credit report Plaintiff noticed that it reported the Everbank

mortgage account without the correct update that indicated that this secured mortgage debt was no

longer part of the bankruptcy, as potentially discharged through bankruptcy, as derogatory, as being

in a wage earner plan and with references to the Chapter 13 Bankru. The reporting is incorrect

because Plaintiff complied with the terms of the chapter 13 bankruptcy plan, was successfully

discharged—excepted the secured Everbank mortgage debt from being discharged, therefore, any

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    remarks and/or references to Plaintiff’s chapter 13 bankruptcy should have been removed from the

    Everbank Mortgage tradelines after the Bankruptcy was discharged. 2

           39.     Metro 2 guidelines require furnishers and CRAs to update the reporting of an account

    when the borrower associated to the account filed chapter 13 bankruptcy by first updating the

    Consumer Information Indicator (“CII”) to “D”, and then continuing to furnish the monthly payment

    history information with a value of “D”. Metro 2 guidelines further require furnishers and CRAs to

    update the reporting of an account when the borrower associated to the account is discharged from

    chapter 13 bankruptcy by updating the CII to “Q”. In following these simple Metro 2 guidelines,

    which are well regarded as the industry standards, it prevents the reporting of any late payment

    history during the pendency of a consumer’s chapter 13 Bankruptcy, and allows payments made by

    the consumer after the chapter 13 bankruptcy is discharged to be reported. Metro 2 guidelines are

    followed by both furnishers and CRAs.

           40.     Within the Trans Union credit report Plaintiff noticed that it reported the Old

    National mortgage account without the correct update that indicated that this secured debt was

    initially filed. This led to reporting that this open account had a $0 balance. Further, they neglected

    to provide the update that the tradeline was later discharged, and no longer part of the bankruptcy.

    This led to them reporting this account as derogatory, as being in a wage earner plan and with

    references to the Chapter 13 Bankruptcy. The reporting is incorrect because Plaintiff complied with

    the terms of the chapter 13 bankruptcy plan, was successfully discharged—excepted the secured



2
  The Consumer Data Industry Association’s Metro 2 reporting standards specifically instruct
consumer reporting agencies to remove any suppression codes associated with bankruptcy
reporting for an account once the chapter 13 bankruptcy is discharged so that ongoing payments
made by the consumer can be reported.
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    Old National mortgage debt from being discharged, therefore, any remarks and/or references to

    Plaintiff’s chapter 13 bankruptcy should have been removed from the Old National Mortgage

    tradelines after the Bankruptcy was discharged. 3

           41.     Metro 2 guidelines require furnishers and CRAs to update the reporting of an account

    when the borrower associated to the account filed chapter 13 bankruptcy by first updating the

    Consumer Information Indicator (“CII”) to “D”, and then continuing to furnish the monthly payment

    history information with a value of “D”. Metro 2 guidelines further require furnishers and CRAs to

    update the reporting of an account when the borrower associated to the account is discharged from

    chapter 13 bankruptcy by updating the CII to “Q”. In following these simple Metro 2 guidelines,

    which are well regarded as the industry standards, it prevents the reporting of any late payment

    history during the pendency of a consumer’s chapter 13 Bankruptcy, and allows payments made by

    the consumer after the chapter 13 bankruptcy is discharged to be reported. Metro 2 guidelines are

    followed by both furnishers and CRAs.

                                 Credit-Reporting Investigations and Allegations

           42.     On or about June 2023, Plaintiff sent direct disputes to Equifax, Experian, and Trans

    Union, and requested that the CRA Defendants investigate the reporting of the aforementioned

    mortgage accounts. Plaintiff requested that under the FCRA, each CRA Defendant conduct a

    reasonable investigation and/or remedy the inaccuracies on Plaintiff’s credit reports concerning

    their respective issues concerning the tradelines for the Nationstar, Everbank, and/or Old National



3
  The Consumer Data Industry Association’s Metro 2 reporting standards specifically instruct
consumer reporting agencies to remove any suppression codes associated with bankruptcy
reporting for an account once the chapter 13 bankruptcy is discharged so that ongoing payments
made by the consumer can be reported.
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mortgage accounts.

       43.      Within these dispute letters, Plaintiff described in great detail the issues and the

misreporting following his bankruptcy and enclosed copies of either his bankruptcy docket report,

trustee final report, and/or discharge order. Redacted copies of Plaintiff’s unsigned dispute letters

sent to Equifax, Experian, and Trans Union, are attached hereto as Exhibits “E”, “F”, and “G”,

respectively.

       44.      Equifax responded to Plaintiff on July 8, 2023 and concerning the Nationstar

tradeline stated the account has been updated but contnued to report the same inaccuracies despite

being discharged from chapter 13 bankruptcy. A redacted copy of Equifax’s Response to Plaintiff

is attached hereto as Exhibit “H”.

       45.      Plaintiff then obtained an updated copy of his three-bureau credit report on

September 7, 2023 and within the Equifax credit report Plaintiff confirmed that the Nationstar

tradeline continued to show the same inaccuracies. A redacted copy of Plaintiff’s September 7, 2023

Three-bureau Credit Report is attached hereto as Exhibit “I”.

       46.      Equifax’s responses, or lack thereof, were not the result of a reasonable investigation

into Plaintiff’s dispute(s) and failed to remedy the inaccuracies within the Nationstar tradeline and

gave no explanation as to why it failed to sufficiently update the Nationstar Mortgage tradeline

when Plaintiff filed chapter 13 bankruptcy, complied with the requirements of the chapter 13

bankruptcy plan, was successfully discharged, and continued to make payments on the Nationstar

Mortgage account because it was still open following the bankruptcy discharge.

       47.      Equifax’s response(s) were not the result of reasonable investigations into Plaintiff’s

dispute(s) for they did not adequately evaluate or consider Plaintiff’s information, claims, or

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evidence and failed to remedy the inaccuracies within the Nationstar Mortgage tradelines.

       48.      Plaintiff sent a very clear dispute, and yet Equifax made no changes to the disputed

information, bankruptcy status, and/or account status.

       49.     Equifax chose to “verify” false information from an unreliable source, failed to

correct the inaccurate information, and continued to publish the inaccurate information regarding

Plaintiff’s Nationstar account.

       50.     Upon the Plaintiff’s request to Equifax for verification and addition regarding the

Nationstar mortgage account, and in accordance with Equifax’s standard procedures, Equifax did

not evaluate or consider any of Plaintiff’s information, claims or evidence. Importantly, Equifax

failed to maintain procedures which would ensure that, if any investigation took place, it would

provide Plaintiff’s with a response communicating the results. Further, Equifax did not make any

attempt to substantially or reasonably verify the Nationstar Mortgage account.

       51.     In the alternative, and in accordance with Equifax’s standard procedures, Equifax

failed to contact Nationstar, therefore, failed to perform any investigation at all.

       52.     In the alternative to the allegation that Equifax failed to contact Nationstar, it is

alleged that Equifax did forward some notice of the dispute to Nationstar, and Nationstar failed to

conduct a lawful investigation.

       53.     Experian received Plaintiff’s dispute on June 23, 2023. A redacted copy of the

Certified Mail Receipt and Proof of Delivery for Plaintiff’s Dispute Letter to Experian is attached

hereto as Exhibit “J”.

       54.     Upon information and belief, Experian did not respond to Plaintiff’s dispute.

       55.     Plaintiff then obtained an updated copy of his three-bureau credit report on

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September 7, 2023 and within the Experian credit report Plaintiff noticed that the Everbank tradeline

was now missing, presumably deleted rather than modified. See Exhibit “I”.

       56.     Experian’s responses, or lack thereof, were not the result of a reasonable

investigation into Plaintiff’s dispute(s) and failed to remedy the inaccuracies within the Everbank

tradeline and gave no explanation as to why it failed to sufficiently update the Everbank tradeline

when Plaintiff filed chapter 13 bankruptcy, complied with the requirements of the chapter 13

bankruptcy plan, was successfully discharged, the Everbank mortgage was acquired by Old

National, and Plaintiff continued to make payments on the Old National mortgage account because

it was still open following the bankruptcy discharge.

       57.     Experian’s responses were not the result of reasonable investigations into Plaintiff’s

dispute(s) for they did not adequately evaluate or consider Plaintiff’s information, claims, or

evidence and failed to remedy the inaccuracies within the Everbank Mortgage tradelines.

       58.     Plaintiff sent very clear disputes, and yet Experian made no changes to the disputed

information, bankruptcy status, and/or account status.

       59.     Experian chose to “verify” false information from an unreliable source, failed to

correct the inaccurate information, and inappropriately deleted Plaintiff’s Everbank account.

       60.     Upon the Plaintiff’s request to Experian for verification and addition regarding the

Everbank mortgage account, and in accordance with Experian’s standard procedures, Experian did

not evaluate or consider any of Plaintiff’s information, claims or evidence. Importantly, Experian

failed to maintain procedures which would ensure that, if any investigation took place, it would

provide Plaintiff with a response communicating the results. Further, Experian did not make any

attempt to substantially or reasonably verify the Everbank Mortgage account.

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       61.     In the alternative, and in accordance with Experian’s standard procedures, Experian

failed to contact Everbank, therefore, failed to perform any investigation at all.

       62.     In the alternative to the allegation that Experian failed to contact Everbank, it is

alleged that Experian did forward some notice of the dispute to Everbank, and Everbank failed to

conduct a lawful investigation.

       63.     Trans Union responded to Plaintiff on July 21, 2023 and concerning the Old National

tradeline deleted rather than modified the account. A redacted copy of Trans Union’s Response to

Plaintiff is attached hereto as Exhibit “K”.

       64.     Plaintiff then obtained an updated copy of his three-bureau credit report on

September 7, 2023 and within the Trans Union credit report Plaintiff confirmed that the Old

National tradeline was missing. See Exhibit “I”.

       65.     Trans Union’s responses, or lack thereof, were not the result of a reasonable

investigation into Plaintiff’s dispute(s) and failed to remedy the inaccuracies within the Old National

tradeline and gave no explanation as to why it failed to sufficiently update the Old National tradeline

when Plaintiff filed chapter 13 bankruptcy, complied with the requirements of the chapter 13

bankruptcy plan, was successfully discharged, and continued to make payments on the Old National

Mortgage account because it was still open following the bankruptcy discharge.

       66.      Plaintiff sent a very clear dispute(s), and yet Trans Union made no changes to the

disputed information, bankruptcy status, and/or account status.

       67.     Trans Union chose to “verify” false information from an unreliable source, failed to

correct the inaccurate information, and inappropriately deleted Plaintiff’s Old National account.

       68.     Upon the Plaintiff’s request to Trans Union for verification and addition regarding

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the Old National mortgage account, and in accordance with Trans Union’s standard procedures,

Trans Union did not evaluate or consider any of Plaintiff’s information, claims or evidence.

Importantly, Trans Union failed to maintain procedures which would ensure that, if any

investigation took place, it would provide Plaintiff with a response communicating the results.

Further, Trans Union did not make any attempt to substantially or reasonably verify the Old National

Mortgage account.

       69.     In the alternative, and in accordance with Trans Union’s standard procedures, Trans

Union failed to contact Old National, therefore, failed to perform any investigation at all.

       70.     In the alternative to the allegation that Trans Union failed to contact Old National, it

is alleged that Trans Union did forward some notice of the dispute to Old National, and Old National

failed to conduct a lawful investigation.

                                 V. GROUNDS FOR RELIEF

                      COUNT I – EQUIFAX’S VIOLATION OF THE FCRA
                                   (15 U.S.C. § 1681e(b))


       71.     The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

       72.     Equifax violated 15 U.S.C. § 168le(b) by failing to establish or follow reasonable

procedures to assure maximum possible accuracy in the preparation of the credit reports and credit

files it published and maintained concerning the Plaintiff.

       73.     The FCRA mandates that “[w]henever a consumer reporting agency prepares a

consumer report it shall follow reasonable procedures to assure maximum possible accuracy of the

information concerning the individual about whom the report relates.” 15 U.S.C. § 168le(b)

(emphasis added).

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        74.    Plaintiff furnished Equifax the necessary documentation supporting Plaintiff’s

tradeline, yet Equifax continued to prepare a patently false consumer report concerning Plaintiff.

        75.    Despite actual and implied knowledge that Plaintiff’s credit reports were and are not

accurate, Equifax readily provided false reports to one or more third parties, thereby misrepresenting

Plaintiff, and ultimately Plaintiff’s creditworthiness.

        76.    After Equifax knew or should have known Plaintiff’s account status in relation to his

bankruptcy was inaccurate, they failed to make the corrections.

        77.    As a result of Equifax’s conduct, action, and inaction, the Plaintiff suffered damages,

including, but not limited to, denial in attempts to refinance, loss in ability to finance goods, loss of

credit, loss of the ability to purchase and benefit from a credit, and suffering the mental and

emotional pain, anguish, humiliation, and embarrassment of credit denials.

        78.    Equifax's conduct, action, and inaction, were willful, rendering it liable to Plaintiff

for punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C. § 168ln. In

the alternative, such conduct, action, and inaction, were negligent, entitling the Plaintiff to recover

under 15 U.S.C. § 1681o.

        79.    The Plaintiff is entitled to recover costs and attorney’s fees from Equifax in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or 1681o.

                      COUNT II – EQUIFAX’S VIOLATION OF THE FCRA
                                     (15 U.S.C. §1681i)

        80.    The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

       81.     Equifax violated § 1681i by failing to update inaccurate information in the Plaintiff’s

credit files after receiving actual notice of such inaccuracies, failing to conduct a lawful

reinvestigation, failing to forward all relevant information to furnisher(s), failing to maintain
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reasonable procedures with which to filter and verify disputed information in the Plaintiff’s credit

files, and relying upon verification from a source it has reason to know is unreliable.

        82.     As a result of Equifax’s conduct, action, and inaction, the Plaintiff suffered damages,

including, but not limited to, loss in ability to finance goods, loss of credit, loss of the ability to

purchase and benefit from a credit, and suffering the mental and emotional pain, anguish,

humiliation, and embarrassment of credit denials.

        83.     Equifax's conduct, action, and inaction, were willful, rendering it liable for actual or

statutory damages, and punitive damages in an amount to be determined by the Court pursuant to

15 U.S.C. § 1681n. In the alternative, such conduct, action, and inaction were negligent entitling the

Plaintiff to recover actual damages under 15 U.S.C. § 1681o.

        84.     The Plaintiff is entitled to recover costs and attorney's fees from Equifax in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or 1681o.



                     COUNT III – EXPERIAN’S VIOLATION OF THE FCRA
                                    (15 U.S.C. § 1681e(b))


        85.     The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

        86.     Experian violated 15 U.S.C. § 168le(b) by failing to establish or follow reasonable

procedures to assure maximum possible accuracy in the preparation of the credit reports and credit

files it published and maintained concerning the Plaintiff.

        87.     The FCRA mandates that “[w]henever a consumer reporting agency prepares a

consumer report it shall follow reasonable procedures to assure maximum possible accuracy of the

information concerning the individual about whom the report relates.” 15 U.S.C. § 168le(b)

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(emphasis added).

       88.     Plaintiff furnished Experian the necessary documentation supporting Plaintiff’s

tradeline, yet Experian continued to prepare a patently false consumer report concerning Plaintiff.

       89.     Despite actual and implied knowledge that Plaintiff’s credit reports were and are not

accurate, Experian readily provided false reports to one or more third parties, thereby

misrepresenting Plaintiff, and ultimately Plaintiff’s creditworthiness.

       90.     After Experian knew or should have known Plaintiff’s account status in relation to

his bankruptcy was inaccurate, they failed to make the corrections. Further, Plaintiff did not request

for the Everbank mortgage tradeline to be deleted.

       91.     As a result of Experian’s conduct, action, and inaction, the Plaintiff suffered

damages, including, but not limited to, denial in attempts to refinance, loss in ability to finance

goods, loss of credit, loss of the ability to purchase and benefit from a credit, and suffering the

mental and emotional pain, anguish, humiliation, and embarrassment of credit denials.

       92.     Experian's conduct, action, and inaction, were willful, rendering it liable to Plaintiff

for punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C. § 168ln. In

the alternative, such conduct, action, and inaction, were negligent, entitling the Plaintiff to recover

under 15 U.S.C. § 1681o.

       93.     The Plaintiff is entitled to recover costs and attorney’s fees from Experian in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or 1681o.



                     COUNT IV – EXPERIAN’S VIOLATION OF THE FCRA
                                    (15 U.S.C. §1681i)



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        94.     The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

       95.      Experian violated § 1681i by failing to update inaccurate information in the

Plaintiff’s credit files after receiving actual notice of such inaccuracies, failing to conduct a lawful

reinvestigation, failing to forward all relevant information to furnisher(s), failing to maintain

reasonable procedures with which to filter and verify disputed information in the Plaintiff’s credit

files, and relying upon verification from a source it has reason to know is unreliable.

        96.     As a result of Experian’s conduct, action, and inaction, the Plaintiff suffered

damages, including, but not limited to, loss in ability to finance goods, loss of credit, loss of the

ability to purchase and benefit from a credit, and suffering the mental and emotional pain, anguish,

humiliation, and embarrassment of credit denials.

        97.     Experian's conduct, action, and inaction, were willful, rendering it liable for actual

or statutory damages, and punitive damages in an amount to be determined by the Court pursuant

to 15 U.S.C. § 1681n. In the alternative, such conduct, action, and inaction were negligent entitling

the Plaintiff to recover actual damages under 15 U.S.C. § 1681o.

        98.     The Plaintiff is entitled to recover costs and attorney's fees from Experian in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or 1681o.



                    COUNT V – TRANS UNION’S VIOLATION OF THE FCRA
                                   (15 U.S.C. §1681e(b))

        99.     The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

        100.    Trans Union violated 15 U.S.C. § 168le(b) by failing to establish or follow

reasonable procedures to assure maximum possible accuracy in the preparation of the credit reports

and credit files it published and maintained concerning the Plaintiff.
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        101.   The FCRA mandates that “[w]henever a consumer reporting agency prepares a

consumer report it shall follow reasonable procedures to assure maximum possible accuracy of the

information concerning the individual about whom the report relates.” 15 U.S.C. § 168le(b)

(emphasis added).

        102.   Plaintiff furnished Trans Union the necessary documentation supporting Plaintiff’s

tradeline, yet Trans Union continued to prepare a patently false consumer report concerning

Plaintiff.

        103.   Despite actual and implied knowledge that Plaintiff’s credit reports were and are not

accurate, Trans Union readily provided false reports to one or more third parties, thereby

misrepresenting Plaintiff, and ultimately Plaintiff’s creditworthiness.

        104.   After Trans Union knew or should have known Plaintiff’s account status in relation

to his bankruptcy was inaccurate, they failed to make the corrections. Further, Plaintiff did not

request for the Old National mortgage tradeline to be deleted.

        105.   As a result of Trans Union’s conduct, action, and inaction, the Plaintiff suffered

damages, including, but not limited to, denial in attempts to refinance, loss in ability to finance

goods, loss of credit, loss of the ability to purchase and benefit from a credit, and suffering the

mental and emotional pain, anguish, humiliation, and embarrassment of credit denials.

        106.   Trans Union's conduct, action, and inaction, were willful, rendering it liable to

Plaintiff for punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C. §

168ln. In the alternative, such conduct, action, and inaction, were negligent, entitling the Plaintiff

to recover under 15 U.S.C. § 1681o.

        107.   The Plaintiff is entitled to recover costs and attorney’s fees from Trans Union in an

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amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or 1681o.

                    COUNT VI – TRANS UNION’S VIOLATION OF THE FCRA
                                     (15 U.S.C. §1681i)

        108.    The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

       109.     Trans Union violated § 1681i by failing to update inaccurate information in the

Plaintiff’s credit files after receiving actual notice of such inaccuracies, failing to conduct a lawful

reinvestigation, failing to forward all relevant information to furnisher(s), failing to maintain

reasonable procedures with which to filter and verify disputed information in the Plaintiff’s credit

files, and relying upon verification from a source it has reason to know is unreliable.

        110.    As a result of Trans Union’s conduct, action, and inaction, the Plaintiff suffered

damages, including, but not limited to, loss in ability to finance goods, loss of credit, loss of the

ability to purchase and benefit from a credit, and suffering the mental and emotional pain, anguish,

humiliation, and embarrassment of credit denials.

        111.    Trans Union's conduct, action, and inaction, were willful, rendering it liable for

actual or statutory damages, and punitive damages in an amount to be determined by the Court

pursuant to 15 U.S.C. § 1681n. In the alternative, such conduct, action, and inaction were negligent

entitling the Plaintiff to recover actual damages under 15 U.S.C. § 1681o.

        112.    The Plaintiff is entitled to recover costs and attorney's fees from Trans Union in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or 1681o.



                    COUNT VII – NATIONSTAR’S VIOLATION OF THE FCRA
                                   (15 U.S.C. §1681s-2(b))


        113.    The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.
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       114.    Defendant Nationstar violated 15 U.S.C. § 1681s-2(b) by failing to conduct

reasonable investigations upon receiving notice of Plaintiff’s dispute(s) from one or more consumer

reporting agencies, and/or failing to appropriately report the results of their investigations, and/or

failing to appropriately modify the information.

       115.    Nationstar further violated 15 U.S.C. § 1681s-2(b) by continuing to report the

Nationstar representation within Plaintiff’s credit files with the CRA Defendants without also

including a notation that this debt was disputed, failing to fully and properly investigate the

Plaintiff’s dispute(s) of the Nationstar representation, failing to accurately respond to the CRA

Defendants, failing to correctly report results of an accurate investigation to every other consumer

reporting agency, and failing to permanently and lawfully correct its own internal records to prevent

the re-reporting of the Nationstar representations to the consumer reporting agencies.

       116.    As a result of Nationstar’s conduct, action, and inaction, the Plaintiff suffered

damages, including, but not limited to, loss in ability to finance goods, loss of credit, loss of the

ability to purchase and benefit from a credit, and suffering the mental and emotional pain, anguish,

humiliation, and embarrassment of credit denials.

       117.    Nationstar’s conduct, action, and inaction, were willful, rendering it liable for actual

or statutory, and punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C.

§ 1681n. In the alternative, it was negligent entitling the Plaintiff to recover actual damages under

15 U.S.C. § 1681o.

                  COUNT VIII – EVERBANK’S VIOLATION OF THE FCRA
                                (15 U.S.C. §1681s-2(b))


       118.    The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

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       119.    Defendant Everbank violated 15 U.S.C. § 1681s-2(b) by failing to conduct

reasonable investigations upon receiving notice of Plaintiff’s dispute(s) from one or more consumer

reporting agencies, and/or failing to appropriately report the results of their investigations, and/or

failing to appropriately modify the information.

       120.    Everbank further violated 15 U.S.C. § 1681s-2(b) by continuing to report the

Everbank representation within Plaintiff’s credit files with the CRA Defendants without also

including a notation that this debt was disputed, failing to fully and properly investigate the

Plaintiff’s dispute(s) of the Everbank representation, failing to accurately respond to the CRA

Defendants, failing to correctly report results of an accurate investigation to every other consumer

reporting agency, and failing to permanently and lawfully correct its own internal records to prevent

the re-reporting of the Everbank representations to the consumer reporting agencies.

       121.    As a result of Everbank’s conduct, action, and inaction, the Plaintiff suffered

damages, including, but not limited to, loss in ability to finance goods, loss of credit, loss of the

ability to purchase and benefit from a credit, and suffering the mental and emotional pain, anguish,

humiliation, and embarrassment of credit denials.

       122.    Everbank’s conduct, action, and inaction, were willful, rendering it liable for actual

or statutory, and punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C.

§ 1681n. In the alternative, it was negligent entitling the Plaintiff to recover actual damages under

15 U.S.C. § 1681o.

               COUNT IX – OLD NATIONAL’S VIOLATION OF THE FCRA
                               (15 U.S.C. §1681s-2(b))


       123.    The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

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       124.    Defendant Old National violated 15 U.S.C. § 1681s-2(b) by failing to conduct

reasonable investigations upon receiving notice of Plaintiff’s dispute(s) from one or more consumer

reporting agencies, and/or failing to appropriately report the results of their investigations, and/or

failing to appropriately modify the information.

       125.    Old National further violated 15 U.S.C. § 1681s-2(b) by continuing to report the Old

National representation within Plaintiff’s credit files with the CRA Defendants without also

including a notation that this debt was disputed, failing to fully and properly investigate the

Plaintiff’s dispute(s) of the Old National representation, failing to accurately respond to the CRA

Defendants, failing to correctly report results of an accurate investigation to every other consumer

reporting agency, and failing to permanently and lawfully correct its own internal records to prevent

the re-reporting of the Old National representations to the consumer reporting agencies.

       126.    As a result of Old National’s conduct, action, and inaction, the Plaintiff suffered

damages, including, but not limited to, loss in ability to finance goods, loss of credit, loss of the

ability to purchase and benefit from a credit, and suffering the mental and emotional pain, anguish,

humiliation, and embarrassment of credit denials.

       127.    Old National’s conduct, action, and inaction, were willful, rendering it liable for

actual or statutory, and punitive damages in an amount to be determined by the Court pursuant to

15 U.S.C. § 1681n. In the alternative, it was negligent entitling the Plaintiff to recover actual

damages under 15 U.S.C. § 1681o.


                VI. VICARIOUS LIABILITY/RESPONDEAT SUPERIOR

       128.    Plaintiff will be able to show, after reasonable discovery, that all actions at issue


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were taken by employees, agents, servants, or representatives, of any type, for Defendants, the

principals, within the line and scope of such individuals' (or entities’) express or implied authority,

through employment, agency, or representation, which imputes liability to Defendants for all such

actions under the doctrine of respondeat superior and/or vicarious liability.



                                         VII. DAMAGES

         129.   Plaintiff respectfully requests that this Honorable Court instruct the jury, as the trier

of facts, that in addition to actual or compensatory damages, punitive or exemplary damages may

be awarded against the Defendants under the provisions of the FCRA and/or states' laws, including

Texas.

         130.   Plaintiff respectfully requests that this Honorable Court award Plaintiff his litigation

expenses and other costs of litigation and reasonable attorney’s fees incurred in this litigation, in

accordance with the provisions of the FCRA and/or other laws.

         131.   The above and foregoing actions, inactions, and fault of Defendants, as to each and

every claim, have proximately caused a wide variety of damages to Plaintiff.

         132.   Defendants performed perfunctory and essentially useless reinvestigations resulting

in the verification of false reportings about the Plaintiff and have been a substantial factor in causing

credit denials and other damages.

         133.   Plaintiff suffered a variety of damages, including economic and non-economic

damages as prayed for herein.

         134.   Defendants have negligently and/or willfully violated various provisions of the

FCRA and are thereby liable unto Plaintiff.

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         135.   Defendants are liable unto Plaintiff for all actual, statutory, exemplary and punitive

 damages awarded in this case, as well as other demands and claims asserted herein including, but

 not limited to, out-of-pocket expenses, credit denials, costs and time of repairing their credit, pain

 and suffering, embarrassment, inconvenience, lost economic opportunity, loss of incidental time,

 frustration, emotional distress, mental anguish, fear of personal and financial safety and security,

 attorney’s fees, and court costs, and other assessments proper by law and any and all other applicable

 federal and state laws, together with legal interest thereon from date of judicial demand until paid.


WHEREFORE PREMESIS CONSIDERED, Plaintiff, William Price, prays that this Honorable

Court:


         A.     Enter Judgment in favor of Plaintiffs and against Defendants Equifax Information

Services LLC, Experian Information Solutions, Inc., Trans Union LLC, Nationstar Mortgage LLC,

Everbank, N.A., and Old National Bancorp, jointly, severally, and in solido, for all reasonable damages

sustained by Plaintiff, including, but not limited to, actual damages, compensatory damages, out-of-

pocket expenses, credit denials, costs and time of repairing their credit, pain and suffering,

embarrassment, inconvenience, lost economic opportunity, loss of incidental time, frustration,

emotional distress, mental anguish, and fear of personal and financial safety and security for

Defendants’ violations of the FCRA, applicable state law, and common law;

         B.     Find that the appropriate circumstances exist for an award of punitive damages to

Plaintiff;

         C.     Award Plaintiff pre-judgment and post-judgment interest, as allowed by law;

         D.     Order that the CRA Defendants, Equifax Information Services LLC, Experian
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Information Solutions, Inc., and Trans Union LLC, and Furnisher Defendants, Nationstar Mortgage

LLC, Everbank, N.A., and Old National Bancorp work in conjunction, cooperatively, and/or

individually to reinvestigate and correct the consumer report(s), credit report(s), data emanations,

consumer histories, and credit histories of and concerning Plaintiff and/or any of Plaintiff’s personal

identifiers.

         E.      Grant such other and further relief, in law or equity, to which Plaintiff might show he

is justly entitled.



Date Filed: November 16, 2023


                                                 Respectfully submitted,

                                                 /s/ Matthew P. Forsberg
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                                     COUNSEL FOR PLAINTIFF




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                                      JURY DEMAND

           Plaintiff hereby demands a trial by jury on all issues so triable.

November 16, 2023                           /s/ Matthew P. Forsberg
Date                                        Matthew P. Forsberg




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